           CASE 0:22-cv-00771-ECT-ECW Doc. 37 Filed 08/09/22 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                                      District of Minnesota


Minnesota State College Student Association,                    JUDGMENT IN A CIVIL CASE
Inc.
                                      Plaintiff(s),
v.                                                              Case Number: 22‐cv‐00771‐ECT‐ECW
Jay Cowles, Rudy Rodriguez, Asani Ajogun,
Victor Ayemobuwa, Alex Cirillo, Dawn
Erlandson, Roger Moe, Javier Morillo, April
Nishimura, Oballa Oballa, Kathy Sheran,
George Soule, Cheryl Tefer, Michael Vekich,
Jerry Janezich

                                      Defendant(s).



☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

         1.      Defendants’ Motion to Dismiss [ECF No. 8] is DENIED in part and GRANTED in
     part. The motion is DENIED as to Plaintiff’s First Amendment‐retaliation claim and in all
     other respects is GRANTED.
         2.      This action is DISMISSED WITHOUT PREJUDICE for lack of subject matter
     jurisdiction insofar as Plaintiff seeks to enjoin Defendants from refusing to collect and
     distribute a fee for Plaintiff of at least $0.61 per credit.
         3.      Plaintiff’s Motion for Preliminary Injunction [ECF No. 14] is DENIED.



      Date: 8/9/2022                                                KATE M. FOGARTY, CLERK
